           IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

MAXWELL KADEL, et al.,

                   Plaintiffs,

             v.
                                             No. 1:19-cv-00272-LCB-LPA
DALE FOLWELL, et al.,

                   Defendants.


            STATE HEALTH PLAN DEFENDANTS’ RESPONSE
      TO PLAINTIFFS’ MOTION TO SEAL EXHIBIT 1 TO PLAINTIFFS’
  MOTION TO EXCLUDE EXPERT TESTIMONY OF DR. PATRICK W. LAPPERT

      Defendants, the North Carolina State Health Plan for Teachers and

State Employees, Dale Folwell (in his official capacity as State Treasurer of

North Carolina), and Dee Jones (in her official capacity as Executive

Administrator of the State Health Plan) (collectively the “Plan Defendants”),

through the undersigned counsel, and pursuant to Local Rule 5.4(c)(5), submit

this response to Plaintiffs’ Motion to Seal Portions of Exhibit 1 to Plaintiffs’

Motion to Exclude Expert Testimony of Dr. Patrick W. Lappert (the “Motion to

Seal”). Doc. No. 210.

      On February 2, 2022, Plaintiffs filed their Motion to Seal, asking this

Court to seal, in perpetuity, certain pages of the expert testimony of the Plan

Defendants’ expert Patrick W. Lappert, M.D. (the “Sealed Document”). The

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Sealed Document allegedly contains “confidential information about Plaintiffs’

medical condition and medical treatment.” Doc. No. 210 at 4. Upon further

inspection, however, the Sealed Document contains, among other things, Dr.

Lappert’s summaries of the Plaintiffs’ medical conditions and medical

treatment—the very medical issues that prompted the Plaintiffs to seek relief,

both in the form of damages and injunctive relief against the Plan Defendants

and the State of North Carolina.

      The common law and the First Amendment help keep the courtroom and

the docket open to public scrutiny.     “Under the common law, there is a

presumption of access accorded to judicial records.”       Mann v. Berryhill,

2017 WL 9939476 at *1 (E.D. Va. Dec. 19, 2017) (citing Nixon v. Warner

Comm’ns, Inc., 435 U.S. 589, 597 (1978)). “This presumption of access can be

rebutted if countervailing interests heavily outweigh the public interests in

access. The trial court may weigh ‘the interests advanced by the parties in

light of the public interests and the duty of the courts.’” Id. “Under the First

Amendment, however, the denial of access must be necessitated by a

compelling government interest and narrowly tailored to serve that interest.”

Id. (citing Press-Enter. Co. v. Super. Ct., 464 U.S. 501, 510 (1984); In re

Washington Post Co., 807 F.2d 383, 390 (4th Cir. 1986)). This Court, as well

as other district courts in the Fourth Circuit, has applied the First Amendment

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right of access to materials filed in connection with a motion to exclude

evidence. Hispanic Nat’l Law Enforcement Ass’n NCR v. Prince George’s Cty.,

2021 WL 488641 at *3 (D.Md. Feb. 10, 2021); Syngenta Crop Protection, LLC

v. Willowood, LLC, 2017 WL 1745531 at *4 (M.D.N.C. May 4, 2017); Krakauer

v. Dish Network, LLC, 2015 WL 12750446 at *1 (M.D.N.C. Nov. 18, 2015).

        Accordingly, as the Court is aware, the filing of documents under seal is

“disfavored.”     L.R. 5.4(a).   “Sealed documents should not be filed unless

necessary for determination of the matter before the Court.” L.R. 5.4(a)(3).

“The provisions of LR 5.4 and 5.5 are intended to minimize the filing of sealed

documents, to protect the public right of access, to ensure the docket is clear so

that documents can be found easily, and to allow for review of motions to seal

in a way appropriate for the case and that reduces cost, time, and confusion.”

L.R. 5.4(a)(5).

        “When presented with a request to seal judicial records or documents, a

district court must comply with certain substantive and procedural

requirements.” Burroughs v. Page, 2019 WL 5558453 at *1 (M.D.N.C. Oct. 28,

2019) (citing Va. Dep’t of State Police v. Wash. Post, 386 F.3d 567, 576 (4th

Cir. 2004)). “Procedurally, a district court presented with a sealing request

must:



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            (1) provide public notice of the sealing request and a
            reasonable opportunity for the public to voice
            objections to the motion; (2) consider less drastic
            alternatives to closure; and (3) if it determines that full
            access is not necessary, it must state its reasons—with
            specific findings—supporting closure and its rejections
            of less drastic alternatives.

Id.

      Substantively, here, Plaintiffs’ basis for the request to seal is that the

Sealed Document contains sensitive medical information about them. Doc. No.

210 at 4. While it is certainly true that documents filed in a lawsuit and

containing sensitive medical information may be sealed, see, e.g., Briggs v.

Marriott Int’l, Inc., 368 F.Supp.2d 461, 463 n.1 (D. Md. 2005) (sealing sensitive

medical records), aff’d, 205 Fed. App’x 183 (4th Cir. 2006), not all medical

records (or summaries of medical records) are entitled to blanket protection

from public scrutiny. After all, when plaintiffs “seek judicial review, they can

expect (at least under today’s practices) that the medical basis of the claim will

become public.” Mitze v. Saul, 968 F.3d 689, 692–93 (7th Cir. 2020).

      To determine whether sealing medical records is justified when

considering the public’s interest in access to court documents, the district

courts of the Fourth Circuit largely consider whether the motion to seal is

tailored to address confidential personal information without concealing

important substantive facts.     See, e.g., Clark v. Proctor, 2021 WL 5230931

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at 1–2 (S.D. W. Va. Nov. 9, 2021).      Failure to articulate a confidentiality

interest, Dvorak v. Astrue, 2009 WL 3156535 at *3 (D. Md. Sept. 25, 2009), or

the unavailability of alternatives, Clark v. Quesinberry, 2021 WL 5238601

at *2 (W.D. Va. May 11, 2021), generally results in the failure of the motion.

      Recently, this Court denied a motion to seal medical records that

“cover[ed] all kinds of information that cannot reasonably be characterized as

confidential,” especially because much of the purportedly confidential

information had already been publicly disclosed.        Bryson v. CompuCom

Systems, Inc., 2021 WL 2451640 at *4 (M.D.N.C. June 11, 2021). And courts

have denied motions to seal medical records where the purported

confidentiality of the materials was related only to “possible employment

decisions   and   other   equitable   interests.”   United   States   v.   Wood,

2016 WL 5940884 at *1 (D. Md. Oct. 13, 2016) (citing Stone v. University of

Maryland Medical System Corp., 948 F.2d 128 (4th Cir. 1991)).

      Moreover, courts have been unwilling to seal even clearly confidential

information when those materials affect their substantive holdings.          For

example, this Court noted that “relevant dates of treatment and diagnoses [ ]

are relevant to the Court’s summary judgment decision, and it is difficult to

justify keeping secret the nature of a claimed disability in a case involving

alleged disability discrimination.”    Bryson, 2021 WL 2451640 at *4 (citing

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Equal Emp. Opportunity Comm’n v. Loflin Fabrication LLC, 2021 WL 3845020

at *2 (M.D.N.C. July 8, 2020)); see also Bureau of Nat. Affairs v. Chase,

2021 WL 3065352 at *3–4 (D. Md. July 25, 2012).         Similarly, the Eastern

District of Virginia denied a motion to seal on the ground that it “effectively

[sought] to seal any reference to her medical condition, the very basis for her

claims,” which would “infringe too severely on the public’s right to access court

records.” Mann, 2017 WL 9939476 at 1–2.

      Granting Plaintiffs’ request to seal under the facts of this case runs the

risk of significantly limiting the public’s right to access court records. Dr.

Lappert’s summaries of the Plaintiffs’ medical conditions and medical

treatment are directly relevant to the substantive issues before this Court, and

Plaintiffs have not adequately established the confidentiality of the

information at issue. To the contrary, Plaintiffs themselves have put their

medical diagnoses and treatment at issue by bringing this lawsuit, and “[p]art

of the cost of [their] day in court is a sacrifice of some privacy.”      Mann,

2017 WL 9939476 at *2. This is especially true when the relief that Plaintiffs

seek is essentially aimed at the citizens of North Carolina who help fund the

medical treatment for those enrolled in the North Carolina State Health Plan

for Teachers and State Employees.



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      To be clear, the Plan Defendants agree that any discussion of the

Plaintiffs’ medical diagnosis and treatment should be handled with respect and

care; however, recent rule changes, the First Amendment, caselaw from the

Fourth Circuit and other jurisdictions, the nature of the Plaintiffs’ claims, and

the breadth of Plaintiffs’ designation, militate against sealing, especially under

the unique circumstances of this case.         Therefore, notwithstanding the

sensitive nature of the Sealed Document, respectfully, the Plan Defendants are

compelled to object to its sealing and to bring these issues to the attention of

the Court.

      Respectfully submitted, this the 16th day of February, 2022.



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                           CERTIFICATE OF SERVICE

      I hereby certify that on the 16th day of February, 2022, the foregoing

was filed electronically with the Clerk of Court using the CM/ECF electronic

filing system, which will send notification of such filing to all registered users.



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                      CERTIFICATE OF WORD COUNT

      Pursuant to L.R. 7.3(d)(1), the undersigned certifies that the State

Health Plan Defendants’ Response to Plaintiffs’ Motion to Seal (Doc. No. 210)

complies with the Court’s word limit as calculated using the word count feature

of the word processing software. Specifically, the Response contains less

than 6,250 words, including the body of the Response and headings, butnot

including the caption, signature lines, this certificate, or the certificate of

service.

      This the 16th day of February, 2022.



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